  'AO 2458      (Rev. 06/05) Judgment in a Criminal Case
              Case
               Sheet 1 5:09-cr-50111-TLB Document 35                     Filed 05/04/10 Page 1 of 6 PageID #: 80


                                           UNITED STATES DISTRICT COURT
                        WESTERN                                   District of                               ARKANSAS
           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                 v.
                   CARISSA L. SHIPP                                      Case Number:                     5:09CRSOIII-002; 5:IOCR50001-001
                                                                         USMNumber:                       09162-010
                                                                         Kimberly R. Weber
                                                                         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)    Three (3) of the Indictment in 5:09CR501 I 1-002 and Counts One (I) and Two (2) of the Information in
5: IOCR5000 1-00 I
D pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count
21 U.S.c. § 841(a)(I) and         Possession with Intent to Distribute Methamphetamine; Aiding              10/1912009                  3
18 U.S.C. § 2                     and Abetting in Case # 5:09CR50111-002
18 U.S.c. § 1708                  Theft or Receipt of Stolen Mail in Case # 5: IOCR50001-00 I               09/0412009                   I
18 U.S.c. § 1029(a)(5)            Unauthorized Use ofa Credit Card in Case # 5:IOCR50001-001                09/0412009                  2


       The defendant is sentenced as provided in pages 2 through         _---=6~_       of this judgment, with the court considering the sentencing
guidelines as non-binding and advisory only.
D The defendant has been found not guilty on count(s)
                                                                 D are dismissed on the motion of the United States.
D Count(s)
               ----------- D is
         It is ordered that the defen~t !Oust notify the U~ted States atto~ey for this di~tI1ct within 30 days of ~y change of name, res~det:lce,
or mailing address until all fines, restitution, costs, and specIal assessments ~osed by this Judgment are fully paId. Ifordered to pay restitution,
the defen<Iant must notify the court and United States attorney of material changes in econoIDtc circumstances.

                                                                         May 4, 2010
                                                                         Date of Imposition of Judgment


                                                                         / S / Jimm Larry Hendren
                                                                         Signature of Judge




                                                                         Honorable Jimm Larry Hendren. Chief United States District Judge
                                                                         Name and Title of Judge


                                                                         May 4, 2010
                                                                         Date
AD 2458   (Rev. 06/05)5:09-cr-50111-TLB
             Case     Judgment in Criminal Case    Document 35            Filed 05/04/10 Page 2 of 6 PageID #: 81
          Sheet 2 - Imprisonment
                                                                                                  Judgment - Page _-,2=--_ of   6
DEFENDANT:                   CARISSA L. SHIPP
CASE NUMBER:                 5:09CRSOI I 1-002; 5:lOCRSOOOI-001


                                                           IMPRISONMENT

            The defendant is hereby conunitted to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:     forty-two (42) months on each count, terms to run concurrently.




      o    The court makes the following recommendations to the Bureau of Prisons:




      X    The defendant is remanded to the custody of the United States Marshal.

      o    The defendant shall surrender to the United States Marshal for this district:

           o    a                                 0 a.m.        0 p.rn.     on

           o        as notified by the United States Marshal.

      o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o        before 2 p.rn.
           o        as notified by the United States Marshal.

           o        as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

I have executed this judgment as follows:




           Defendant delivered                                                        to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                          By                              ---,-     - __- - - - - ­
                                                                                           DEPUTY UNITED STATES MARSHAL
AO 2458         Case
              (Rev. 06/05)5:09-cr-50111-TLB
                           Judgment in a Criminal Case   Document 35      Filed 05/04/10 Page 3 of 6 PageID #: 82
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _",,-3_ of            6
DEFENDANT:                     CARISSA L. SHIPP
CASE NUMBER:                   5:09CR501 11-002; 5:IOCR50001-001
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :            three (3) years on each count, terms to
run concurrently.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the ftrst ftve days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled sUDstances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit conftscation of any
          contraband observea in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersonal history or characteristics and shall permit the probation officer to rilake such notiftcations and to confmn the
          defendant s compliance with such notiftcation requirement.
A02458     Case
          (Rev.     5:09-cr-50111-TLB
                06/05) Judgment in a Criminal Case   Document 35   Filed 05/04/10 Page 4 of 6 PageID #: 83
          Sheet 3C - Supervised Release
                                                                                                  Judgment-Page      4     of        6
DEFENDANT:               CARISSA L. SHIPP
CASE NUMBER:              5:09CR501 11-002; 5:10CR50001-001

                                        SPECIAL CONDITIONS OF SUPERVISION

    1. The defendant shan submit her person, residence, place of emplo)'lllent,. and vehicle to a search conducted by the United States
       Probation Office at a reasonable time and in a reasonable manner basea upon reasonable suspicion of evidence of a violation of any
       condition of supervised release. The defendant shan warn any other residents that their premises may be subject to search pursuant
       to this condition. Failure to submit to a search may be grounds for revocation.

   2. In addition to the mandatory drug testing requirements, the defendant shan comply with any referral deemed appropriate by the U.S.
      Probation Officer for in-patient or out-patient evaluation, treatment, counseling or testing for substance abuse.

   3. The defendant shan not incur any new debt nor establish any bank or credit accounts unless receiving prior apj)roval from the U.S.
      Probation Officer, and win make any information concerning her financial status available to the probation officer upon request.
      This condition shan remain in effect until such time that the financial penalties have been paid in fun.
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
            Case
          Sheet      5:09-cr-50111-TLB
                5 - Criminal Monetary Penalties      Document 35             Filed 05/04/10 Page 5 of 6 PageID #: 84
                                                                                                         Judgment - Page              5   of       6
DEFENDANT:                        CARISSA L. SHIPP
CASE NUMBER:                      5:09CR50111-002; 5: 1OCR5000 1-001
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                            Fine                                         Restitution
TOTALS            $ 300.00                                               $ 2,500.00                    $ 5,054.14*
                                                                                                * In Case # 5: 1OCR5000 1-001

o The detennination of restitution is deferred until ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such detennination.

X   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                                 Total Loss*                         Restitution Ordered                            Priority or Percentage

Security Bank Card Center                                                                      $5,054.14
Attn: Fraud Department
Acct. # 5419360000552622
225 East Eufala
Norman, OK 73069




TOTALS                               $                         ----"o_        $                 .::.J5,~05:..:4~.1~4_




o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the           X fme          X restitution.
     D the interest requirement for the          D    fme    D restitution is modified as follows:


• Findings for the total amount oflosses are reguired under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
             Case
           Sheet      5:09-cr-50111-TLB
                 6 - Schedule of Payments             Document 35        Filed 05/04/10 Page 6 of 6 PageID #: 85
                                                                                                           Judgment - Page   _~6_     of       6
DEFENDANT:                  CARISSA L. SHIPP
CASE NUMBER:                5:09CRSOI 11-002; 5: lOCRSOOOI-OOI


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment of$           7,854.14            due immediately, balance due

           D
           X
                 not later than
                 in accordance    ---------­    , or
                                    D C, D D, D E, or X Fbelow; or
B     D    Payment to begin immediately (may be combined with             D C,        D D, or      D F below); or
C     D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
           than $25.00 quarterly, or 10% of the defendant's quarterly earnings, wliichever is greater. After incarceration, any unpaid financial
           I?enalty shall become a special condition of supervised release and maybe paid in monthly installments of not less than 10% of the
           oefendant's net monthlyllousehold income, but in no case less than $100.00 per month, with the entire balance to be paid in full one
           month prior to the termmation of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througli the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYJ!1ents shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
